       Case 4:20-cv-02425 Document 71 Filed on 06/15/22 in TXSD Page 1 of 2
                                                                                          United States District Court
                                                                                               Southern District of Texas

                                                                                                  ENTERED
                           IN THE UNITED STATED DISTRICT COURT                                    June 15, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

GERICARE MEDICAL SUPPLY, INC.                             §
                                                          §
         PLAINTIFF,                                       §
                                                          §
v.                                                        §
                                                          §
J.L. SADICK, individually, J.L. SADICK, §
P.C., TERRY WILMOT BARNES,                                §
GREGORY A. JONES, LAURA                                   §
ROMEO, IMITARI CORPORATION,                               §
COJONES CAPITAL, INC.                                     §   Civil Action No. 4:20-cv-02425
                                                          §
         DEFENDANTS,                                      §
                                                          §
----------------------------------------------------------§
                                                          §
J.L. SADICK,                                              §
                                                          §
         THIRD PARTY PLAINTIFF,                           §
                                                          §
v.                                                        §
                                                          §
IMITARI CORPORATION, TERRY                                §
WILMOT BARNES, and GREGORY A.                             §
JONES,                                                    §
                                                          §
         THIRD PARTY DEFENDANTS.                          §

                          CONSENT AMENDED FINAL JUDGMENT

        After fully considering Plaintiff Gericare Medical Supply, Inc.’s Unopposed Motion

for Costs and to Amend Final Judgment to Include Such Costs, See Dkt. 69, this Court

enters this Consent Amended Final Judgment, which supersedes the Final Judgment

entered by the Court on May 10, 2022, See Dkt. 68, ORDERING, ADJUDGING and

DECREEING that FINAL JUDGMENT is entered in favor of Plaintiff Gericare Medical

Supply, Inc. and against J.L. Sadick a/k/a Jan L. Sadick; J.L. Sadick, P.C.; Terry Wilmot

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     Case 4:20-cv-02425 Document 71 Filed on 06/15/22 in TXSD Page 2 of 2




Barnes; Gregory A. Jones, Jr.; Cojones Capital, Inc.; and Imitari Corporation in the amount

of $4,000,000, plus $5,823.41 in taxable costs and post-judgment interest on the total sum

at the maximum rate allowed by law.

       All other Parties to this proceeding are dismissed without prejudice.

       SIGNED this 15th day of June, 2022, at Houston, Texas.


                                                   George C.
                                                          C HHanks,
                                                                  k JJr.
                                                   United States District Judge

Agreed as to Form and Content:

 /s David A. Bryant, Jr.                         /s Joshua H. Threadcraft
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